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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                               JACKSONVILLE DIVISION


  U.S. EQUAL EMPLOYMENT                      Case No. 3:23-cv-01132-WWB-MCR
  OPPORTUNITY COMMISSION,

                       Plaintiff,

                   -against-

  WASTE PRO OF FLORIDA, INC.

                       Defendant.


               JOINT MOTION FOR APPROVAL OF CONSENT DECREE

        Pursuant to Federal Rule of Civil Procedure (7)(b)(1), Plaintiff U.S. Equal

 Employment Opportunity Commission (“EEOC”) and Defendant Waste Pro of Florida, Inc.

 (“Defendant”) hereby respectfully submit this Joint Motion for Approval of Consent

 Decree. As grounds for the motion, the parties state as follows:

        1.     EEOC commenced this action on September 26, 2023 against Defendant

 alleging violations of Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. §

 2000e et seq. (“Title VII”). Doc. 1.

        2.     EEOC’s Complaint alleged that Defendant discriminated against Charging

 Party Fednol Pierre and a class of other aggrieved Black and/or Haitian-American

 employees by subjecting them to a hostile work environment on the basis of their race,

 color, and national origin. Id. EEOC’s Complaint also alleges that Charging Party Pierre

 was retaliated against in violation of Title VII. Defendant denies these allegations and

 admits no wrongdoing or violation of the law.




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        3.     As a result of having engaged in comprehensive settlement negotiations,

 the parties agreed to resolve this action in its entirety upon the terms reflected in the

 executed Consent Decree, attached as Joint Exhibit A. The attached Consent Decree

 reflects the terms of the monetary and injunctive relief to which the parties have agreed

 after contemplating the specific facts of this case.

        4.     The Parties request that the Court approve and execute the attached

 Consent Decree. The Consent Decree conforms to Federal Rule of Civil Procedure 65(d)

 in that it states the reason why it is issued, provides specific terms that the parties must

 comply with, and describes in detail the acts restrained and required.

        5.     The entry of the Consent Decree will further the objectives of Title VII and

 will be in the best interests of EEOC, Defendant, and the public.


 Dated: October 15, 2024                 Respectfully submitted,

                                         /s/ Austin N. Case
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